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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

         Plaintiff,

V.                                                                       CASE NO. 1:21-CR-222 (TFH)

GEORGE PIERRE TANIOS,

         Defendant.

                  MOTION TO DISMISS COUNT SIX OF THE INDICTMENT
                   AND MEMORANDUM OF LAW IN SUPPORT THEREOF

         The Defendant, George Pierre Tanios, by and through counsel, respectfully moves this

Court to dismiss Count Six of the Indictment, “Obstructing or Impeding Any Official Proceeding,

in violation of Title 18, United States Code, Sections 1512(c)(2),” for failure to state an offense.

In support of the motion, Mr. Tanios sets forth the following facts and argument. 1

                                              I. INTRODUCTION

         Count Six of the Indictment charges Mr. Tanios and co-defendant Julian Khater with a

violation of 18 U.S.C. § 1512(c)(2). In full, Count Six states as follows:

         On or about January 6, 2021, within the District of Columbia and elsewhere,
         JULIAN ELIE KHATER and GEORGE PIERRE TANIOS, attempted to, and
         did, corruptly obstruct, influence, and impeded an official proceeding, that is, a
         proceeding before Congress, by committing an act of civil disorder, and engaging
         in disorderly and disruptive conduct.

         (Obstructing or Impeding Any Official Proceeding, in violation of Title 18,
         United States Code, Sections 1512(c)(2)).

1
 The same or similar arguments have been presented in other cases concerning the events of January 6. For example,
undersigned is aware of similar motions pending in the following matters, all before the district judges in the District
of Columbia, United States v. Riley Williams, 1:21-cr-618-ABJ; United States v. Grider, 1:21- cr-22-CKK; United
States v. Caldwell and Crowl, 1:21-cr-28-APM; United States v. Reffitt, 1:21-cr-32-DLF; United States v. Montgomery
and Knowlton, 1:21-cr-46-RDM; United States v. Sandlin, 1:21-cr-88-DLF; United States v. Andries, 1:21-cr-93;
United States v. Cua, 1:21-cr- 107-RDM; United States v. Miller, 1:21-cr-119-TJN; United States v. Mostofsky, 1:21-
cr-138-JEB; United States v. Nordean and Biggs, 1:21-cr-175-TJK; United States v. Costianes, 1:21-cr-180-RJL;
United States v. Blair, 1:21-cr-186-CRC; United States v. Puma, 1:21-cr-454-PLF. This motion liberally quotes from
a number of those similar motions in the above-stated cases.

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[ECF No. 8 at 5] (emphasis in the original). Mr. Tanios contends that the allegation in Count Six

for the felony offense of what the Indictment labels “Obstruction or Impeding an Official

Proceeding, in violation of Title 18, United States Code, Sections 1512(c)(2)” is erroneously

charged. Indeed, § 1512 titles the offense as “Tampering with a witness, victim, or an informant.”

Moreover, as shown by its plain language, § 1512(c) falls under Chapter 73 of Title 18, which

deals with “Obstruction of Justice.” See generally, 18 U.S.C. §§ 1501-1521.

       In considering the plain language of this statute, at least one Circuit has recognized that an

offense under § 1512(c) does not prohibit the obstruction of every governmental function. See

United States v. Ermoian, 752 F.3d 1165 (9th Cir. 2013), as amended (Aug. 28, 2013). Rather, §

1512(c) only prohibits the obstruction of proceedings such as a hearing that takes place before a

tribunal. See id. at 1172 (finding that § 1512, “when describing an official proceeding strongly

implies that some formal hearing before a tribunal is contemplated”). By its plain language, §

1512(c) does not criminalize the obstruction of all action by Congress. The alleged obstruction of

a proceeding before Congress on January 6, 2021, falls outside the scope of § 1512(c).

       What is more, Mr. Tanois contends that Count Six of the Indictment in his case fails to

specify what “official proceeding” or “proceeding before Congress” he “attempted to, and did,

corruptly obstruct, influence, and impede[ ]” on January 6, 2021. See [ECF No. 8 at 5]. Whereas

other January 6th Indictments charging violations of § 1512(c) appear to state “specifically,

Congress’s certification of the Electoral College vote,” see, e.g., ECF NO. 33, Case No. 1:21-CR-

00618, Count Six of Mr. Tanois’s Indictment does not. As such, Count Six is overly vague and

fails to state an offense. In the alternative, on its face § 1512 is constitutionally infirm because of

its inherent vagueness and arbitrary enforcement across the spectrum of January 6th cases.




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                                 II. STANDARD OF REVIEW

       An indictment must be a “plain, concise, and definite written statement of the essential

facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). An indictment “must provide the

defendant sufficient detail to allow [a defendant] to prepare a defense, to defend against a

subsequent prosecution of the same offense, and to ensure that [the defendant] be prosecuted upon

facts presented to the grand jury.” United States v. Apodaca, 275 F. Supp. 3d 123, 153 (D.D.C.

2017) (citing Russell v. United States, 369 U.S. 749 (1962), and Stirone v. United States, 361 U.S.

212 (1960)). A defendant “may raise by pretrial motion any defense, objection, or request that the

Court can determine without a trial on the merits.” Fed. R. Crim. P. 12(b)(3)(B). Rule 12 provides

that a defendant may also move to dismiss the indictment for “failure to state an offense” and “lack

of specificity.” Fed. R. Crim. P. 12(b)(3)(B)(iii), (v). In considering a Rule 12 motion to dismiss,

“the Court is bound to accept the facts stated in the indictment as true.” United States v. Syring,

522 F. Supp. 2d 125, 128 (D.D.C. 2007); United States v. Sampson, 371 U.S. 75, 78 (1962).

Accordingly, “the Court cannot consider facts beyond the four corners of the indictment.” United

States v. Ring, 628 F. Supp. 2d 195, 204 (D.D.C. 2009) (internal quotations omitted).

       A criminal statute is unconstitutionally vague if it “fails to give ordinary people fair notice

of the conduct it punishes, or [is] so standardless that it invites arbitrary enforcement.” United

States v. Bronstein, 849 F.3d 1101, 1106 (D.C. Cir. 2017) (quoting Johnson v. United States, 576

U.S. 591, 595 (2015)). “The touchstone is whether the statute, either standing alone or as

construed, made it reasonably clear at the relevant time that the defendant’s conduct was criminal.”

United States v. Lanier, 520 U.S. 259 (1997). The void-for-vagueness doctrine protects against

arbitrary or discriminatory law enforcement. Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018)

(citing Kolender v. Lawson, 461 U.S. 352, 358 (1983).



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                                        III. DISCUSSION

A.     Count Six of the Indictment is insufficient because it fails to state an offense nor even
       specify what “proceeding before Congress” Mr. Tanios allegedly obstructed.

       Count Six of the Indictment charges that Mr. Tanios obstructed an “official proceeding,”

in violation of 18 U.S.C. § 1512(c)(2) and it identifies that “proceeding” only as “a proceeding

before Congress.” [ECF No. 8 at 5]. Count Six, thus, fails to specify what type of “proceeding

before Congress” Mr. Tanios allegedly obstructed. Because Count Six fails to provide notice of

what kind of proceeding was allegedly obstructed, it is insufficient. See Russell v. United States,

369 U.S. 749, 763 (1962) (finding of “the protections which an indictment is intended to

guarantee” is “first, whether the indictment ‘contains the elements of the offense intended to be

charged, ‘and sufficiently apprises the defendant of what he must be prepared to meet”). To be

certain, such detail is necessary because “the very core of the criminality” § 1512(c)(2) proscribes

depends so crucially upon such “a specific identification of fact,” i.e., what the “proceeding” was

that Mr. Tanios allegedly obstructed or impeded. See id. at 764. Without more information in the

Indictment on the type of proceeding, Count Six fails to specify the “official proceeding” and,

more specifically, the “proceeding before Congress” that Mr. Tanios allegedly obstructed. Indeed,

§ 1512(c)(2) does not proscribe the obstruction of any and all proceedings before Congress. Count

Six of the Indictment is constitutionally insufficient and must be dismissed.

       Nevertheless, if this Court were to find that Count Six somehow provided sufficient

notification about the “proceeding before Congress” to contain the essential element of the offense

charged and to sufficiently allow Mr. Tanios to prepare a defense, it should still be dismissed for

failure to state an offense. As detailed in the subsections below, the proceeding before Congress—

presumably, the Electoral College certification before Congress on January 6, 2021—does not

constitute an “official proceeding” for purposes of 18 U.S.C. § 1512(c)(2).


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       1.      The text of § 1512 must be construed strictly and with restraint.

       18 U.S.C. § 1512 prohibits “corruptly. . . obstruct[ing], influenc[ing], or imped[ing] any

official proceeding, or attempt[ing] to do so.” Id. (emphasis added). 18 U.S.C. § 1515(a)(1) defines

an “official proceeding” as:

       (A) a proceeding before a judge or court of the United States, a United States
       magistrate judge, a bankruptcy judge, a judge of the United States Tax Court, a
       special trial judge of the Tax Court, a judge of the United States Court of Federal
       Claims, or a Federal grand jury;

       (B) a proceeding before the Congress;

       (C) a proceeding before a Federal Government agency which is authorized by law;

       (D) a proceeding involving the business of insurance whose activities affect
       interstate commerce before any insurance regulatory official or agency or any agent
       or examiner appointed by such official or agency to examine the affairs of any
       person engaged in the business of insurance whose activities affect interstate
       commerce[.]

18 U.S.C. § 1515(a)(1). Count Six of the Indictment against Mr. Tanios concerns “a proceeding

before the Congress” as set forth in §1515(a)(1)(B). To determine the legislative intent of a law,

courts “begin with the text of the statute.” Am. Fed’n of Gov’t Emps., AFL-CIO, Local 3669 v.

Shinseki, 709 F.3d 29, 33 (D.C. Cir. 2013). “It is elementary that the meaning of a statute must, in

the first instance, be sought in the language in which the act is framed, and if that is plain . . . the

sole function of the courts is to enforce it according to its terms.” United States v. Hite, 769 F.3d

1154, 1160 (D.C. Cir. 2014) (internal quotations and citations omitted)). “The search for the

meaning of the statute must also include an examination of the statute’s context and history.” Hite,

769 F.3d at 1160 (citing Bailey v. United States, 516 U.S. 137, 144-45 (1995)). What is more, “due

process bars courts from applying a novel construction of a criminal statute to conduct that neither

the statute nor any prior judicial decision has fairly disclosed to be within its scope.” United States

v. Lanier, 520 U.S. 259, 266 (1997).


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         In conjunction with the above principles of statutory construction, the Supreme Court has

further instructed that courts should “traditionally exercise[ ] restraint in assessing the reach of a

federal criminal statute.” Arthur Andersen LLP v. United States, 544 U.S. 696, 703 (2005). The

reasoning here is two-fold. First, the exercise of restraint is important “out of deference to the

prerogatives of Congress.” Id. (citing Dowling v. United States, 473 U.S. 207). Second, the

exercise of restraint is needed “out of concern that ‘a fair warning should be given to the world in

language that the common world will understand, of what the law intends to do if a certain line is

passed.’” Id. (quoting McBoyle v. United States, 283 U.S. 25, 27) (strictly construing §1512(b)(2)’s

broadly worded language in finding that jury instructions failed to instruct that knowledge of

wrongdoing and proof of a nexus between the alleged obstruction and an official proceeding were

required elements of the offense). Strictly construing § 1512(c)(2) with restraint shows that §

1512(c), obstruction of “official proceedings,” does not apply to Electoral College certifications. 2

         2.        “Official proceeding” under § 1512(c) concerns the administration of justice.

         Ermoian was one of the first appellate decisions to consider the meaning of “official

proceeding” as that term is used in §1512(c) and defined in §1515. See Ermoian, 752 F.3d at 1168

(“Our circuit has never before addressed the meaning of the term ‘official proceeding’ as used in

the obstruction of justice statute at 18 U.S.C. § 1512”). The Ermoian court, tasked with deciding

whether a criminal investigation by the FBI was considered an “official proceeding” for purposes

of §1512(c), noted that “the definition of the phrase ‘official proceeding’ depends heavily on the

meaning of the word ‘proceeding.’” Id. at 1169.


2
  Congress counts the electoral votes pursuant to the Twelfth Amendment to the United States Constitution and the
Electoral Count Act of 1887, later codified in 3 U.S.C. § 15. Congress counts the electoral votes after the states have
already heard any disputes and certified the vote. See Bush v. Gore, 531 U.S. 98, 154 (2000) (Breyer, J., dissenting).
Members of Congress may make an objection, in writing, and without argument. 3 U.S.C. § 15. According to the
statute, there is no testimony, no witnesses, no argument, and no evidence introduced at the electoral count. The event
is merely ceremonial. See Stephen A. Siegel, The Conscientious Congressman’s Guide to the Electoral Count Act of
1887, 56 FLLR 541, 585 (2004).

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       Reviewing the plain language of §1515, the Ermoian court explained that “[s]everal aspects

of the definition for ‘official proceeding’ suggest that the legal – rather than lay – understanding

of the term ‘proceeding’ is implicated in the statute.” Id. at 1170. The court noted that “the

descriptor ‘official’ indicates a sense of formality normally associated with legal proceedings,”

and not “a mere ‘action or series of actions.’” Id. (citing “Proceeding,” Oxford English Dictionary,

available at http://www.oed.com). Moreover, the court pointed to the fact that “the word

‘proceeding’ is surrounded with other words that contemplate a legal usage of the term, including

‘judge or court,’ ‘Federal grand jury,’ ‘Congress,’ and ‘Federal Government agency.’” Id. Further,

the Ninth Circuit observed:

       Examining the term ‘proceeding’ within the grammatical structure of the definition
       at issue, it becomes clear that the term connotes some type of formal hearing.
       [Section 1515(a)(1)(C)] refers to proceedings “before a Federal Government
       agency” – a choice of phrase that would be odd if it were referring to criminal
       investigations. The use of the preposition “before” suggests an appearance in front
       of the agency sitting as a tribunal.

Id. at 1170-71 (internal citation omitted) (emphasis added); see also United States v. Ramos, 537

F.3d 439, 462-63 (5th Cir. 2008) (“use [of] the preposition ‘before’ in connection with the term

‘Federal Government agency’ . . . implies that an ‘official proceeding involves some formal

convocation of the agency in which parties are directed to appear.”). The court also considered

that § 1512 uses the terms “attendance, “testimony,” “production” and “summon[]” when

describing an official proceeding and found the use of these terms “strongly implie[d] that some

formal hearing before a tribunal is contemplated.” Id. at 1172.

       The logic and reasoning used by the Ermoian court in considering whether an FBI

investigation fell under the scope of § 1512(c) applies with equal force to interpreting the term

“proceedings before the Congress,” as required here. Taking § 1512 and the definitions contained

in § 1515 as a whole, indicates that the statute is directed at conduct that interferes with the


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administration of justice. 3 To be certain, even the title of the statute, “[t]ampering with a witness,

victim, or an informant,” suggests an adversarial proceeding related to the administration of

justice. See I.N.S. v. Nat’l Ctr. for Immigrants’ Rts., Inc., 502 U.S. 183, 189 (1991)(“[T]he title of

a statute or section can aid in resolving an ambiguity in the legislation’s text). A strictly construed

and restrained analysis leaves little doubt that §1512 only criminalizes obstructive conduct related

to a hearing before a tribunal affecting the administrative of justice. The ceremonial certification

of the Electoral College votes does not qualify as an “official proceeding” under the statute. 4

         3.       Legislative history confirms § 1512(c) concerns the administration of justice.

         18 U.S.C. § 1512(c)(2) was enacted as part of the Sarbanes-Oxley Act of 2002, which was

titled “Corporate Fraud Accountability,” and had the express purpose of targeting “corporate

malfeasance.” Pub. L. No. 107-204, 116 Stat. 745. The legislative history of the Sarbanes-Oxley

Act does not support the notion that Congress enacted §1512(c)(2) to criminalize the disruption of

a ceremony before Congress, even with conduct like that of January 6th. Rather, the Sarbanes-

Oxley Act “was prompted by the exposure of Enron’s massive accounting fraud and revelations

that the company’s outside auditor, Arthur Andersen LLP, had systematically destroyed potentially

incriminating documents.” Yates v. United States, 574 U.S. 528, 535-36 (2015).



3
  See McAndrew v. Lockheed Martin Corp., 206 F.3d 1031, 1039 (11th Cir. 2000)(“Section 1512 . . . applies to attempts
to prevent or influence testimony not only in federal courts but also before Congress, federal agencies, and insurance
regulators.”)(emphasis added); United States v. Dunn, 434 F. Supp. 2d 1203, 1207 (MD. Ga. 2006)(“ . . . § 1515(a)(1)
. . . describe[s] events that are best thought of as hearings (or something akin to hearings): for example, federal court
cases, grand jury testimony, Congressional testimony, and insurance regulatory hearings.”)(emphasis added); United
States v. Georgia, 2014 WL 2084891 (N.D. Georgia 2014) (“official proceeding” for purposes of §1512(c) did not
include a FBI investigation); United States v. Sutherland, 921 F.3d 421 (4th Cir. 2019) (the term “proceeding” implies
‘some formal convocation . . . in which parties are directed to appear”) (internal quotation omitted).
4
  This interpretation is consistent with the case law that has clarified the meaning of the statutory language at issue
here. See e.g. Arthur Anderson, LLP, 544 U.S. at 708 (interpreting §1512(c) as requiring that the defendant have
“knowledge that his actions are likely to affect [a]judicial proceeding” in order to have the “requisite intent to
obstruct’); United States v. Burge, 711 F.3d 803, 809 (7th Cir. 2013)(considering the application of §1512 and noting
that “[o]bstruction of justice occurs when a defendant acts to impede the types of proceedings that take place before
judges or grand juries.”) cert. denied, 571 U.S. 888 (2014); United States v. Sampson, 898 F.3d 287, 300 (2d Cir.
2018)(noting that §1512 “broadly criminalizes various forms of witness tampering”).

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       The Senate Judiciary Committee report described the Act’s purpose as “provid[ing] for

criminal prosecution and enhanced penalties of persons who defraud investors in publicly traded

securities or alter or destroy evidence in certain Federal investigations,” S. REP. NO. 107-146, at

2 (2002) (emphasis added). And the Court in Yates narrowly construed the terms within the Act to

meet that purpose, 574 U.S. at 528, like the term “tangible object,” which penalized a person who:

       knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false
       entry in any record, document, or tangible object with the intent to impede, obstruct,
       or influence the investigation or proper administration of any matter within the
       jurisdiction of any department or agency of the United States . . .

18 U.S.C. § 1519. Recognizing that Congress designed the Sarbanes-Oxley Act with a “trained [ ]

attention on corporate and accounting deception and cover-ups,” the Yates Court held that the Act

did not contemplate penalizing the act of tossing undersized fish (there argued to be a tangible

object) overboard to avoid the consequences of an inspection by federal authorities. Yates, 574

U.S. at 532. Rather, in the context of the statute’s purpose, a “tangible object” must be one used to

record or preserve information. Id. Thus, while fish are tangible objects in the lay sense of that

phrase, they do not qualify as tangible objects under § 1519 given the broader context of the

Sarbanes-Oxley Act.

       In rendering the Yates decision, the Supreme Court clearly telegraphed that legal terms are

to be narrowly construed given the legislative history and purpose of the Sarbanes-Oxley Act.

When considering the Act’s preamble and legislative history, it is clear that §1512(c) was aimed

at preventing corporations from destroying records relevant to a federal hearing related to the

administration of justice. The legislative background of §1512(c) makes plain that it was not

intended to apply in all circumstances where any government function may have been impeded,

and given this context, the certification of the Electoral College votes does not qualify as an

“official proceeding” under the statute.


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         4.       Other tools of statutory interpretation support the argument to dismiss.

         18 U.S.C. §§ 1512 and 1515 are contained in Chapter 73 of Title 18 of the United States

Code. Examining the surrounding statutory provisions in Chapter 73 further supports Mr. Tanios’s

interpretation of the statute at issue. 5 Several of the subsections of Chapter 73 explicitly relate to

the administration of justice. See 18 U.S.C. §§ 1503, 1504 (Influencing or injuring a juror); §1513

(Retaliating against a witness, victim or informant); § 1521 (Retaliating against a federal judge or

law enforcement officer by false claim or slander of title). There is even a statute within Chapter

73 that prohibits “picketing or parading” near the residence of a judge, juror, witness, or court

officer “with the intent of interfering with, obstructing, or impeding the administration of justice.”

18 U.S.C. § 1507 (emphasis added). All of these laws are related to the obstruction of the

administration of justice. Section 1512(c) falls right within their midst.

         In Mr. Tanios’s case, the government has misapplied the tools of statutory interpretation.

In so doing, the government has conflated an “official proceeding” under § 1512 with something

more akin to a “federally protected function” under 18 U.S.C. § 231(a)(3) or even the “official

business” of Congress under 40 U.S.C. § 5104(e)(2)(c). Indeed, the Court need only look to Count

Five of the Indictment, in which the government charged Mr. Tanios with Civil Disorder in

violation of 18 U.S.C. § 231(a)(3), to see the government uses the allegation of obstructing an

“official proceeding” interchangeably with obstructing “the conduct and performance of a

federally protected function.” 6 [ECF No. 8 at 5]. Charging Mr. Tanios with obstruction under §

1512(c)(2) not only fails to state an offense; but also, it takes on the appearance of overcharging.



5
  See NASDAQ Stock Mkt., LLC v. Sec. & Exch. Comm’n, 961 F.3d 421, 426 (D.C. Cir. 2020)(quoting Util. Air
Regulatory Grp. V. E.P.A., 573 U.S. 302, 321 (2014))(“[a] statutory provision that may seem ambiguous in isolation
is often clarified by the remainder of the statutory scheme[,] because only one of the permissible meanings produces
a substantive effect that is compatible with the rest of the law.”).
6
  The term “federally protected function” is defined as: any function, operation or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an officer or employee

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B.       Alternatively, § 1512(c)(2) is unconstitutionally vague.

         Mr. Tanios equally contends that pursuant to the same principles of United States v.

Johnson, 576 U.S. 591 (2015) and its progeny, 18 U.S.C. § 1512(c)(2) violates due process because

it is vague and does not provide fair notice as to the conduct it punishes. Relevant here, §

1512(c)(2) provides that:

         Whoever corruptly –

         (1) alters, destroys, mutilates, or conceals a record, document, or other object, or
         attempts to do so, with the intent to impair the object’s integrity or availability for
         use in an official proceeding; or

         (2) Otherwise obstructs, influences, or impedes any official proceeding, or attempts
         to do so, . . . shall be fined . . . or imprisoned . . .

18 U.S.C. §§ 1512(c)(1) and (2). As seen above, §1512(c) uses words throughout both subsections

that require courts to speculate as to their meaning in the context of the defendant’s particular

actions. To wit, courts must speculate as to the meaning of the word “corruptly” and the phrase

“official proceeding.” Even more problematic is the residual clause of subsection (c)(2), one that

is so ambiguous, it requires courts to line-draw when determining if a defendant has “otherwise”

obstructed, impeded, or influenced an official proceeding before Congress.

         The Supreme Court in Johnson considered the constitutionality of residual clause of the

Armed Career Criminal Act, which enhanced a defendant’s sentence if the defendant had a

conviction for a prior felony that “otherwise involved conduct that presented a serious potential

risk of physical injury to another.” Johnson, 576 U.S. at 591. In finding a due process violation,

the Supreme Court explained that the residual clause required a “wide-ranging inquiry” in each

case as to what could potentially cause injury in each set of circumstances. Id. at 597. Observing



thereof; and such term shall specifically include, but not be limited to, the collection and distribution of the United
States mails.” 18 U.S.C. § 232(3).

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that the ambiguity of the residual clause resulted in disparate interpretations, the Supreme Court

acknowledged that the “failure of persistent efforts to establish a standard can provide evidence of

vagueness.” Id. at 598. In the same way, the residual clause of § 1512(c) is constitutionally vague,

requiring courts to speculate and line-draw when distinguishing “official proceedings” from mere

ancillary proceedings or investigations. As discussed above, courts have generally interpreted

“official proceeding” to mean something more formal than an investigation. However, without

more, there is a lack of any established standard. This ambiguity is problematic both for the courts

to wade through and for the people caught up in it, like Mr. Tanios.

       To make matters even more troubling, the vagueness of the statute is not limited to the

confusion that surrounds what constitutes an “official proceeding.” The D.C. Circuit previously

acknowledged that the word “corruptly” is vague on its face as used in a similar statute, 18 U.S.C.

§ 1505, which prohibits obstruction of a proceeding before departments, agencies, or congressional

investigations by finding “in the absence of some narrowing gloss, people must guess at its

meaning and application.” United States v. Poindexter, 951 F.2d 369, 398 (D.C. Cir. 1991). In

Ricks v. District of Columbia, 414 F.2d 1097 (D.C. Cir. 1968), the court held a statute that

criminalized “leading an immoral or profligate life” vague because it found “immoral” to be

synonymous with “corrupt, depraved, indecent, dissolute, all of which would result in ‘an almost

boundless area for the individual assessment of another’s behavior.’” Poindexter, 951 F.2d at 399

(quoting Ricks, 414 F.2d at 1097). The court explained that various dictionary definitions of the

word “corrupt” did not reduce the confusion as to its meaning for purposes of the statute. Id. Based

on the legislative history and judicial interpretation, the court concluded that neither of those

inquiries provided defendants with the constitutionally required notice that the statute requires and

found the term vague as applied to the defendant making false statements. Id. at 406.



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           And when the D.C. Circuit has held that the term “corruptly” was not vague as applied, it

was because the facts of the case included a defendant influencing a witness, which fit squarely

within the non-vague category that the Poindexter Court established. See United States v.

Morrison, 98 F.3d 619, 630 (D.C. Cir. 1996). In Morrison, the defendant tried to influence a

witness’s testimony and “exhorted her to violate her legal duty to testify truthfully in court.” Id.

However, influencing another to “violate their legal duty” is not vague because “it would both take

account of the context in which the term ‘corruptly’ appears and avoid the vagueness inherent in

words like ‘immorally.’” Poindexter, 951 F.2d at 379. Past cases did not face the question of what

“corruptly” means in the context of § 1512(c) and do not resolve the ambiguity that the word

presents in conjunction with the rest of that statute.

           Analyzing the government’s approach to charging defendants with a violation of

§1512(c)(2) arising out of events on January 6, 2021, further illustrates how vague and arbitrary

the enforcement of this statute can be. Arbitrary enforcement of any criminal statute is dangerous.

On information and belief, it seemed initially that the government was only charging those

individuals who had entered the Senate chamber 7 with a §1512(c)(2) violation. However, a

snapshot of some of defendants that have been charged with a violation of § 1512(c)(2) brings the

inconsistencies into greater focus.

            First, in United States v. Kenneth Grayson, 21-cr-224, Mr. Grayson is alleged to have

    entered the Capitol building, but not the Senate chamber. Prior to January 6, 2021, he allegedly

    wrote in a private message, “I am there for the greatest celebration of all time after Pence leads

    the Senate flip! OR IM THERE IF TRUMP TELLS US TO STORM THE FUKIN CAPITOL

    IME DO THAT THEN!” [ECF No. 1-1, Case No. 1:21-cr-224].



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    The ceremonial Electoral College certification took place in the Senate Chamber.

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       Second, in United States v. Benjamin Larocca, 21-cr-317, Mr. Larocca allegedly entered

the Capitol building while screaming “Our House!” He was with an individual who was allegedly

yelling, “You fucking oath breakers!” Mr. Larocca is not alleged to have entered the Senate floor.

[ECF No. 1-1, Case No. 1:21-cr-317].

       Third, in United States v. Dale Jeremiah Shalvey, 21-cr-334, Mr. Shalvey allegedly entered

the Senate chamber and is captured on video rummaging through Senator Cruz’s notes. He is

alleged to have said “something to the effect that Ted Cruz ‘was going to sell us out all along’

after reviewing papers on a Senate desk.” [ECF No. 1-1, Case No. 1:21-cr-334].

       Fourth, in United States v. Riley Williams, 21-cr-618, Ms. Williams allegedly entered the

Capitol building, but not the Senate chamber, and is alleged to directed others inside the Capitol

building to proceed up a staircase in the direction of Speaker Pelosi’s office where she is alleged

to have taken a laptop computer or hard drive from Speaker Pelosi’s office. [ECF No. 1-1, Case

No. 1:21-cr-618].

       As illustrated from the above-stated cases, the facts and circumstances of each vary

drastically and make clear the inconsistencies behind the government’s charging decisions. With

respect to Mr. Tanios, he was never alleged to have entered the Capitol building, let alone,

rummage through or remove property from within it. Across each example, the government does

not attempt to specify what “influence” these defendants had or exactly how they “obstructed” or

“impeded” in a manner distinct or heightened from those numerous people not charged with

violating § 1512(c)(2) for substantially similar conduct on January 6th. Such inconsistent charging

decisions for a statute with such inherently vague words and an equally problematic “residual

clause,” under which Count Six of the Indictment in this case is charged, showcase how §

1512(c)(2) is unconstitutionally vague and fails to provide fair notice to Mr. Tanios.



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                                        IV. CONCLUSION

       Perhaps in its haste to exact swift prosecution in the wake of January 6th, the government

cast a wide net of prosecutorial theories, parts of which took liberties with the legal application of

§ 1512(c). However, “hard cases cannot be permitted to make bad law.” See Morgan County v.

Allen, 103 U.S. 498 (1880). No matter the government’s reasoning, no court has ever interpreted

an “official proceeding,” as that term is used in § 1512(c), so broadly as to encompass an event

such as the certification of the Electoral College vote. As discussed above, the plain language of

the statute and the traditional tools of construction all counsel against doing exactly that which the

government would now urge this Court to do: to extend the application of § 1512(c) far beyond its

common meaning and the intent of Congress when it was enacted. To the extent these arguments

cast ambiguity onto § 1512(c)(2), “the rule of lenity still has some force.” United States v.

Winstead, 890 F.3d 1082, 1092 n.14 (D.C. Cir. 2018) (explaining “the rule of lenity, which favors

a defendant if a criminal statute is ambiguous”). For all the forgoing reasons, Count Six of the

Indictment against Mr. Tanios fails to state an offense and should be dismissed.

       Respectfully submitted,


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                                   CERTIFICATION OF SERVICE

       I hereby certify that on February 24, 2022, I electronically filed the foregoing with the

Clerk of the Court for the United States District Court for the District of Columbia and that a copy

of which will be sent to the following:



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